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 6
 7
                                  UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF NEVADA
 9
                                                      ***
10
11    UNITED STATES OF AMERICA,                         2:10- CR-202-RLH(GWF)

12                   Plaintiff,                         STIPULATION AND ORDER TO
                                                        ALLOW TRAVEL OUT OF UNITED
13    vs.                                               STATES

14    ADAM AMADEO BATTANI,

15                   Defendant.

16
            COMES NOW, Defendant, ADAM BATTANI, hereinafter “BATTANI”, by and through his
17
     attorney of record, Chad A. Bowers, Esq., and the United States by and through counsel of record
18
     Kimberly Frayn, Esq. and submits this stipulation and order to allow a modification for Mr. Battani
19
     to travel from Los Angeles, California to Lebanon for a period from July 21-23, 2015 to September
20
     2-4, 2015. The parties agree to the following:
21
            1. That Defendant is currently on supervised release from a 2011 conviction for Conspiracy
22
     to Commit Bank Fraud, Wire Fraud, Access Device Fraud and Money Laundering in violation of 18
23
     USC 357. That Defendant has been on supervised release since February of 2014 and will remain
24
     on supervised release until February of 2017. That during the time of his supervised release Mr.
25
     Battani has been in full compliance with his supervised release. Mr. Battani’s applied for early
26
     termination of his supervised release with the support of his probation officer but that was not
27
     granted.
28
            2. That Defendant has maintained steady employment with the same firm since December
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 1   of 2013 and has accrued sufficient vacation time to leave the jurisdiction during the proposed travel

 2   times and return to his current employment without any negative repercussions;

 3             3. Mr. Battani’s probation officer does not oppose this travel request.

 4             4. That the Defendant will be staying with his parents in Lebanon

 5             5. That the address of Mr. Battani’s parents is not included in this document as it is a public

 6   record but has been contemporaneously provided to the Assistant United States Attorney in this

 7   matter.

 8             6. That the Defendant would travel from Los Angeles International to Beirut Lebanon

 9   between July 21-23, 2015 on British Airways and return on the same common carrier to the United

10   States on September 2-4, 2015.

11             7. That Defendant is a citizen of the United States who would be lawfully allowed to the

12   return to the country.

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 1          That based on the foregoing the parties agree that Mr. Battani’s conditions of supervised
 2   release should be modified to allow for Mr. Battani to travel from Los Angeles to Lebanon from July
 3   21-13, 2015 until September 2-4, 2015.
 4          Dated this 8th day of July, 2015.
 5
            DANIEL BOGDEN                         CHAD A. BOWERS, LTD./
 6          United States Attorney
 7          /s Kimberly M. Frayn                  /s Chad A. Bowers
 8          Kimberly M. Frayn, Esq.               Chad A. Bowers, Esq.
            Assistant United States Attoreney     Attorney for Defendant
 9
                ORDER MODIFYING CONDITIONS OF SUPERVISED RELEASE
10
            Based on the foregoing it is hereby ordered that Defendant ADAM BATTANI’S
11
     conditions of supervised released are temporarily modified to allow him to travel from Los Angeles,
12
     California to the specific address provided to the United States Attorney’s Office in Lebanon on
13
     British Airways from July 21-23, 2015 returning on September 2-4, 2015.
14
            This order does not modify Defendant Battani’s conditions of supervised release for any other
15
     period of time.
16
17           DATED: July 15, 2015.
                                           _____________________________________
18                                         ROGER L. HUNT
                                           UNITED STATES DISTRICT COURT JUDGE
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